                                 OPINION
Plaintiff Earlin E. Worley appeals the May 25, 2000 order of the Hancock County Court of Common Pleas granting summary judgment to Cooper Tire  Rubber, et al. on his claim of negligence in this slip-and-fall case. Plaintiff asserts a single assignment of error with the trial court's judgment.
    The trial court erred in granting defendant Cooper Tire and Rubber Company's motion for summary judgment.
  Our review of the record reveals that the trial court has thoroughly addressed all of the relevant factual and legal issues pertaining to this appeal in its judgment entry granting summary judgment to defendant-appellee.  Accordingly, we hereby adopt the final judgment entry of the trial court dated May 25, 2000, incorporated and attached hereto as Exhibit A, as our opinion in this case.  For the reasons stated therein, the plaintiff's assignment of error is overruled and the judgment of the Hancock County Court of Common Pleas is affirmed.
 HADLEY, P.J. and WALTERS, J., concur.
   _______________  SHAW, J.